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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF KANSAS

LESLIE J. REYNARD,
     Plaintiff,
v.                                                       LEAD CASE
                                                         Case No. 19-cv-4012-HLT
WASHBURN UNIVERSITY OF TOPEKA,
    Defendant.
LESLIE J. REYNARD,
     Plaintiff,
v.                                                       Case No. 19-cv-4061-HLT

WASHBURN UNIVERSITY OF TOPEKA,
    Defendant.
LESLIE J. REYNARD,
     Plaintiff,
v.                                                        Case No. 20-cv-02219-HLT

WASHBURN UNIVERSITY OF TOPEKA,
    Defendant.

   APPLICATION FOR TRANSCRIPT OF RECORDING OF COURT PROCEEDING

        On November 23, 2022, this Court granted Plaintiff’s Application [Document No. 169]

for reproduction of certain recordings of proceedings [Document No. 172] in the captioned

consolidated case. Plaintiff reviewed and transcribed the available recordings and supplied

Defendant’s counsel with copies. Plaintiff now has been advised by Order of the 10th Circuit Court of

Appeals [Document 010110789647, filed 12/27/22] that a transcript prepared and certified by a court

reporter will be required in order to consider Plaintiff’s request to supplement the record on appeal.

Plaintiff requests that this Court grant this Application for formal transcription of this District

Court telephone proceeding:

              ECF #130 – March 25, 2022 Final Pretrial (telephone) Conference

Plaintiff requests a court-reporter-prepared transcription of this recording for inclusion in the

record because while details of the recorded pretrial conference (held by telephone) corroborate


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her notes and recollection, the transcript will provide a more complete, reliable, and credible

record than a declaration of her recollection would.

          Plaintiff, proceeding pro se, also requests that this Court authorize transcription of this

recording to Plaintiff without charge, based upon her in forma pauperis1 status in this case. This

request is made pursuant to Fed. R. App. P. 10(b)(1)(A), insofar as this element of the

proceedings is not already on file, no transcript currently exists but could be prepared, and

Plaintiff considers it necessary for her appeal.

          Under 28 U.S.C. §1915(c), if a party is proceeding in forma pauperis, the Court may

direct payment by the United States of the expenses for “preparing a transcript of proceedings

before a United States magistrate judge in any civil or criminal case, if such transcript is

required by the district court, in the case of proceedings conducted under § 636(b) of this title

or under § 3401(b) of title 18, United States Code.” Plaintiff had hoped to avoid the expense of

formal transcriptions of all of the previously requested recordings and was able to eliminate the

need for formal transcription of the other recordings.

          Defendant does not oppose an order for a court-reporter-prepared transcript of the

March 25, 2022, pretrial conference.

          The Transcript Order Form originally filed 11-19-22 [Document No. 169] and Plaintiff’s

informal transcript of the 3-23-22 recording the Court provided are attached to this Application.

                                                             Respectfully submitted,
                                                             /s/ Leslie J. Reynard
                                                             Leslie J. Reynard, Ph.D., Plaintiff pro se
                                                             791 E. 1217 Rd.
                                                             Lawrence, KS 66047
                                                             618-616-7379
                                                             LJRvWU@protonmail.com

1 See April 8, 2022 Motion for Leave to Proceed in Forma Pauperis. (ECF #132), April 27, 2022 Memorandum and Order granting
Motion. (ECF #140), and the Court’s approval of Plaintiff’s appeal in forma pauperis [Docket Annotation., ECF #82]

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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that these documents 1. Application for Transcription
of Recordings of Court Proceeding, 2. previous Transcript Order Form and 3. Informal
Transcription of March 25, 2022 Final Pretrial (Telephone) Conference were submitted to the
District Court Clerk to be filed electronically this 4th day of January 2023, thereby providing
notice to:

                          Susan M. Mauch, Esq.
                          Cameron Bernard, Esq.
                          GOODELL STRATTON EDMONDS & PALMER LLP
                          Attorneys for Defendant
                          515 S. Kansas Ave.
                          Topeka, KS 66603
                          Telephone: (785) 233-0593
                          Fax: (785) 233-8870

These documents were also sent U.S. Mail to the U.S. Court of Appeals for the Tenth Circuit:
                        Office of the Clerk
                        Byron White United States Courthouse
                        1823 Stout Street
                        Denver, CO 80257

                                                      /s/ Leslie J. Reynard
                                                      Pro Se Plaintiff




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